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                                        IN THE
                             UNITED STATES DISTRICT COURT
                                       FOR THE
                             WESTERN DISTRICT OF VIRGINIA
                                  ABINGDON DIVISION


   UNITED STATES OF AMERICA                   :
                                              :
   v.                                         :       Criminal No. 1:18CR00025
                                              :
                                              :
   ANDREA NICOLE STICKEL                      :



                         MOTION FOR RESENTENCING BASED
                   UPON DEFENDANT’S SUBSTANTIAL ASSISTANCE IN
                  THE INVESTIGATION OR PROSECUTION OF ANOTHER


          Comes now the United States of America, by counsel, and moves this Court to re-sentence

   the defendant to a term of imprisonment below the sentencing guidelines range and the statutory

   minimum. This motion is made pursuant to Fed. R. Crim. Pro. 35(b) and 18 U.S.C. § 3553(e).



                                                      Respectfully submitted,

                                                      THOMAS T. CULLEN
                                                      United States Attorney


                                                      /s/ Zachary T. Lee
                                                      VA Bar No. 47087
                                                      Attorney for United States of America
                                                      U.S. Attorney’s Office
                                                      180 West Main Street
                                                      Abingdon, Virginia 24210
                                                      276-628-4161
                                                      276-628-7399 (fax)
                                                      USAVAW.ECFAbingdon@usdoj.gov
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on April 2, 2020, I caused the foregoing to be electronically filed

   with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

   to counsel for defendant.


                                                 /s/ Zachary T. Lee
                                                 Assistant United States Attorney
